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  3.3 Discussion
  The continuous noise protection of all devices tested was reasonable and should provide
  for a safe exposure level for the average user in many noise environments up to 105 dB.
  Further analysis will be needed to determine safe exposure times for specific mobility
  platforms. In general, when ITE TH are compared to circumaural TH the ITE TH provide
  more attenuation. This is probably due to the form-fit factor of the circumaural TH in that
  there may be a leak in the seal between the circumaural TH and head. With that being
  said there is tremendous variability in the passive attenuation performance among the
  circumaural TH.


  3.3.1 High Level TH

  3.3.1.1 ITE TH
  As indicated in Table 1, the ITE THs (the CEPS, NACRE QuietPro, and Silynx
  QuietOps) are comparable at 26, 23, and 22 dB (at mean-2 standard deviations)
  respectively when foam earplugs are used. It should be noted that the CEPS and Silynx
  QuietOps were tested with the same foam tips (Comply) and there was a 4 dB difference.
  This may be due to the increased mass of the Silynx QuietOps earpiece that may break
  the seal more than the lighter CEPS earpiece. Also, it needs to be noted that the Silynx
  QuietOps is often fielded with a triple flange earplug. The passive attenuation of this
  triple flange earplug is 8 dB (at mean-2 standard deviations), significantly poorer than the
  foam plug option and yielding roughly a five-fold reduction in permissible continuous
  noise exposure times relative to the foam Comply earpiece.

  It should be noted that from previous studies of field attenuation of foam earplugs that
  approximately one-third of the lab attenuation is achieved in the field (Ericson, et al,
  2005). For the CEPS, Nacre QuietPro, and Silynx QuietOps the expected field
  attenuation values without the fit-check would be 8-9 dB, 7-8 dB, and 7-8 dB
  respectively. One advantage to the Nacre QuietPro and Silynx QuietOps systems is a fit-
  check function. Once the user has inserted the earplugs and turns the device on, the
  systems perform a fit-check to ensure that there is an adequate seal and earplugs have
  been inserted correctly. It is expected that this fit-check function improves the field
  attenuation of Nacre QuietPro and Si lynx QuietOps by a factor of two giving 14-16 dB
  and 14-16 dB attenuation respectively.

  There is an override function for the fit-check. This is problematic in that if a fit-check is
  not performed or a fit results in a leak, the active noise reduction (ANR) capability is not
  engaged. Users should not be trained to override the fit-check function. The expectation
  is that continuous noise protection associated with ANR functionality would be
  compromised. It must be noted that the ANSI S 12.6-1997 attenuation testing does not
  assess the contribution of ANR in generating NRR values because there is no approved
  procedure for putting ANR performance into NRR calculations. Field experience by the
  Marines suggest that 1-2 hours of training was required to adequately operate the Nacre
  QuietPro system and consistently pass the fit check.


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  The passive ITE TH work as they should in that the continuous noise settings provide
  more continuous noise attenuation than the impulse noise settings. Table 1 illustrates
  that the Combat Arms Earplug (CAEP) green (intended for continuous noise protection)
  provides very good attenuation and is readily distinguished from the CAEP yellow
  (intended for impulse noise protection) setting. This allows for the desirable difference in
  performance characteristics provided by this CAEP earplug, in that the green side
  provides continuous noise protection. While in a tactical situation the user inserts the
  yellow side and is better able to maintain situational awareness but still realize protection
  from impulse noise (see below). Testing is not complete on the passive attenuation for
  continuous noise of the Sennheiser SLC-110 open setting and cannot be compared to the
  Sennheiser SLC-110 closed setting. However, when comparing the Sennheiser SLC-110
  closed setting to the CAEP green side in (both meant for a continuous noise
  environment), the Sennheiser SLC-110 provides minimal attenuation of 2 dB versus the
  CAEP green side that provides 15 dB of attenuation (both at mean-2 standard deviations).


  3.3.1.2 Circumaural TH
  The Noise Reduction Rating (NRR) at mean-2 standard deviations for the circumaural
  headsets range from 17 dB to 1 dB (refer to Table 1). This is consistent with a very broad
  range of attenuation performance across this category. The Peltor Comtac II with
  headband and foam cups performed best with a NRR (mean -2SD) of 17 dB. This is
  better than the other two Peltor headset conditions. When using the same headset and
  changing to the gel cup the NRR dropped to 12 dB; when using the Peltor Comtac II
  neckband headset with the foam cups the NRR (mean -2SD) dropped to 14 dB. The
  neckband variant of the Comtac system therefore would be expected to provide only half
  the safe exposure time in hazardous, continuous noise as compared to the traditional
  headband configuration. Using gel cups on the Peltor Comtac II headset would reduce
  permissible exposure times to hazardous noise to just over 25 percent of the time realized
  using the same TH with foam cups. The MSA was comparable to these last two Peltor
  conditions with an NRR (mean -2SD) of 13 dB. The Silynx Infantry headset provided
  less passive attenuation with an NRR (mean -2SD) of 10 dB. The least attenuation was
  demonstrated by the RACAL Raptor headset which provided minimal attenuation with an
  NRR (mean -2SD) of 1, which equates to essentially no protective value in continuous
  noise when trying to account for the majority of users. As mentioned above, several
  factors may influence the dramatic difference in results across devices, but poor
  attenuation of circumaural headsets is usually attributed to form-fit characteristics.


  3.3.2 Low Level TH

  3.3.2.1 Unilateral TH
  The Nextlink Invisio Pro, RACAL Cobra, and Silynx Eagle headsets were not tested.




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